                  UNITED STATES COURT OF APPEALS

                         FOR THE NINTH CIRCUIT


THE BANK OF NEW YORK                        No. 20-15019
MELLON, FKA THE BANK OF NEW
YORK, AS TRUSTEE FOR THE                    DC Case No.: 2:16-cv-01129-RFB-DJA
CERTIFICATEHOLDERS OF                       District of Nevada, Las Vegas
CWMBS, INC. CHL MORTGAGE
                                            STIPULATION TO
PASS-THROUGH TRUST 2005-HYB
                                            DISMISS APPEAL
6 MORTGAGE PASS-THROUGH
CERTIFICATES SERIES 2005-HYB6,

             Plaintiff-Appellee,
v.

SFR INVESTMENTS POOL 1, LLC,

             Defendant-Appellant,

and

SBH 2 HOMEOWNERS’
ASSOCIATION; NEVADA
ASSOCIATION SERVICES, INC.,
         Defendants,


      Appellee, The Bank of New York Mellon, fka The Bank of New York, as

Trustee for the Certificateholders Of CWMBS, Inc. CHL Mortgage Pass-Through

Trust 2005-HYB 6 Mortgage Pass-Through Certificates Series 2005-HYB6, and

Appellant, SFR Investments Pool 1, LLC stipulate and agree to dismiss the above-




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captioned appeal, each party to bear its own fees and costs. Fed. R. App. P. 42(b).

      DATED this 4th day of January, 2021.

 KIM GILBERT EBRON                        AKERMAN LLP

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